 

Case 1:19-cr-20822-KMW Document 21 Entered on FLSD Docket 01/09/2020 Page 1 of 2

United States District Court

Southern District of Florida

CASE NO. 1:19-cr-20822-KMW

 

UNITED STATES OF AMERICA,
Plaintiff,
v.
JESUS MENOCAL,
Defendant.
/
DEFENDANT’S SPEEDY TRIAL WAIVER

The Defendant, JESUS MENOCAL, hereby waives his right to a speedy trial pursuant to 18
U.S.C. § 3161.

-My attorney has advised me of my right under the Speedy Trial Act, 18 U.S.C. § 3161, to go to trial
within seventy (70) days after the Indictment was filed or my arrest, whichever was later. My attorney
has also advised me that a continuance of the trial is needed and we have discussed the reasons for the
continuance. I understand that if the Court grants the motion to continue upon Defense request, all time

between the date the motion was filed and the new trial date will be excluded from the speedy trial

calculations pursuant to the Speedy Trial Act.

I declare under penalty of perjury that the foregoing is ce

JESUS MENOCAL
Personally known to me

or produceda_FlOyiIdQ. Dviveys UCUIIQL
driver’s license, numbered |ASQv}—443-X] -499-O

 

 

 

 
 

 

Case 1:19-cr-20822-KMW Document 21 Entered on FLSD Docket 01/09/2020 Page 2 of 2

 

SWORN TO and subscribed before me

this , of SANYO 20 2

PY TIFFANY CISNEROS
fee Commisslon # GG 251324 2

< Expires August 22, 2022
Bonded Thru Budget Notary Services

©,

~
orn

NOTARY PUBLIC
MY COMMISSION EXPIRES: $ |o0} 9a

I, Michael Grieco, Counsel of Record, have read the above declaration and discussed it with my client.

/s/ MICHAEL GRIECO
Attorney for Mr. MENOCAL

. 175 sw 7th street
#2410
Miami, FL 33130

michael@griecolaw.com

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that the original of this Notice was filed electronically and/or sent via eE-

File this 9th Day of January, 2020 to the Clerk of Courts, the Court, and Assistant US Attorneys.

By: /s/ MICHAEL GRIECO

Michael C. Grieco
Attorney for Defendant
FBN 255490

175 sw 7th Street

#2410

Miami, FL 33130

(305) 857-0034

(305) 856-7771 (fax)
Michael@GriecoLaw.com

 

 
